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                    UNITED
                         D STATESS DISTRICT
                                          T COURT
                                                T
                        DISTRICT
                               T OF
                                  F COLUMBIA A

UNITED
     D STATES
            S OF
               F AMERICA,

                   Plaintiff,
             v..
                                                        Casee No.. 21-cr-702
                                                                           2 (JEB))
LOUIS
    S VALENTIN,,

                   Defendant..


                       MOTION
                            N TO
                               O CONVERT T IN-PERSON
                       HEARING
                             G TO
                                O VIDEO
                                      O CONFERENCE E

      Mr. Louis Valentin currently has a plea hearing scheduled for February 16,

2023. The hearing is scheduled to be conducted in person. Mr. Valentin, through

counsel, respectfully requests the Court convert the hearing to a video conference.

The Government has represented that there is no objection to this request.

      The agreement proposed by the Government is to a plea of guilty to Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United

States Code, Section 5104(e)(2)(G), a misdemeanor offense. Under Federal Rule of

Criminal Procedure 43(b), the Court may conduct a plea hearing by video conference

when “[t]he offense is punishable by fine or by imprisonment for not more than one

year, or both, and with the defendant’s written consent. . . .” Indeed, the Court may

conduct the hearing “in the defendant’s absence.” Id.

      In light of Rule 43 and given the continued risks associated with the COVID-

19 pandemic and that an in-person hearing would require extensive travel for Mr.

Valentin, he respectfully request the Court grant this motion and convert the
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sentencing hearing to a video conference. Mr. Valentin’s written consent is attached

hereto.

                                             Respectfully submitted,

                                             A. J. Kramer
                                             Federal Public Defender

                                             /s/
                                             Jose A. German
                                             Assistant Federal Public Defender
                                             625 Indiana Avenue, N.W., Suite 550
                                             Washington, D.C. 20004
                                             202-664-4458
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                   UNITED
                        D STATESS DISTRICT
                                         T COURT
                                               T
                       DISTRICT
                              T OF
                                 F COLUMBIA A

UNITED
     D STATES
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                   Plaintiff,
            v..
                                                      Casee No.. 21-cr-702
                                                                         2 (JEB))
LOUIS
    S VALENTIN,,

                   Defendant..


                    LOUIS
                        S VALENTIN
                                 N WRITTEN
                                         N CONSENT
                                                 T

      I, Louis Valentin, having discussed my right with counsel to be present at all

hearings, consent to conducting the February 16 plea hearing by video conference.



                                                    _____________________________
                                                    ________________________
                                                        _
                                                    Louis Valentin
